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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 HON. THOMAS MASSIE, in his individual and
 official capacities; HON. MARJORIE TAYLOR
 GREENE, in her individual and official capacities;   CASE NO. 1:21-cv-02023
 HON. RALPH NORMAN, in his individual and
 official capacities,

                             Plaintiffs,
 v.

 HON. NANCY PELOSI, in her official capacity;
 WILLIAM J. WALKER, in his official capacity;
 CATHERINE SZPINDOR, in her official
 capacity,

                             Defendants.



  PLAINTIFF’S [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
                ATTORNEY THOMAS B. BRUNS PRO HAC VICE

       The Court has reviewed the Plaintiff’s Motion for Admission of Attorney Thomas B. Bruns

pro hac vice. Upon consideration of that motion, the Court grants attorney Thomas B. Bruns pro

hac vice admission to this Court.



IT IS SO ORDERED.


DATED:
                                                          United States District Judge
